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               RIDER A – DEFENDANTS’ NAMES AND ADDRESSES

Stephen A. Cardi, 25 Devon Court, East Greenwich, RI (Kent County).
Antonio B. Cardi, 88 Varnum Drive, East Greenwich, RI (Kent County).
Cardi Corporation, 400 Lincoln Avenue, Warwick, RI (Kent County)
Cardi Leasing Corporation, 400 Lincoln Avenue, Warwick, RI (Kent County)
Cardi Materials LLC, 400 Lincoln Avenue, Warwick, RI (Kent County)
Jefferson Realty, LLC, 400 Lincoln Avenue, Warwick, RI (Kent County)
Jefferson Davis Realty, LLC, 400 Lincoln Avenue, Warwick, RI (Kent County)
Cardi Corporation Ready Mix Concrete, Inc., 400 Lincoln Avenue, Warwick, RI (Kent
County)
426 Smith Street Realty, LLC, 400 Lincoln Avenue, Warwick, RI (Kent County)
Middletown Ready-Mix Realty, LLC, 400 Lincoln Avenue, Warwick, RI (Kent County)
AM Electric, LLC, 385 Lincoln Avenue, Warwick, RI (Kent County).
Advantage Equipment Rentals, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Hopkins Hill Sand & Stone, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Hopkins Hill Road Realty, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Rhode Island Construction Management Group, Inc., 25 Devon Court, East Greenwich,
RI (Kent County)
Cardi Construction Corporation, 25 Devon Court, East Greenwich, RI (Kent County)
Interchange Realty, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
New London Turnpike Realty, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Interchange Realty Corp., 25 Devon Court, East Greenwich, RI (Kent County)
P I T Realty LLC, 25 Devon Court, East Greenwich, RI (Kent County)
421 Lincoln Ave Realty, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Mountaindale Realty, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
O T H Group, Inc., 25 Devon Court, East Greenwich, RI (Kent County)
C & J Forms, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Sherwood Development, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Farmington Investment Group LLC, 25 Devon Court, East Greenwich, RI (Kent County)
A Cardi Realty Associates, 25 Devon Court, East Greenwich, RI (Kent County)
A. Cardi Realty Co., Inc., 25 Devon Court, East Greenwich, RI (Kent County)
Jefferson Colorado, LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Grandvel Nominee Trust, 25 Devon Court, East Greenwich, RI (Kent County)
Royal Venture Investments LLC, 25 Devon Court, East Greenwich, RI (Kent County)
Fall River Ready-Mix Concrete LLC, 245 Tripp Street, Fall River, MA (Bristol County)
FRRM Holdings, LLC, 245 Tripp Street, Fall River, MA (Bristol County)
